                 United States Court of Appeals for the Sixth Circuit
                                    Argument Acknowledgment
                             Nos. 24-7000, 24-3449, 24-3450, 24-3497, 24-3508, 24-3510, 24-3511, 24-3519, 24-3538
1. 6L[WKCircuit Case No(s): _______________________________

                               In re MCP No. 185, Open Internet Rule (FCC 24-52)
2. Case Caption (Short Title): __________________________________________________
                                 (time)                       (day, date)
                               8:30 a.m.          October 31, 2024
3. Argument is scheduled for __________ on ____________________________          and will be held:

   ✔ Live (In Person)                         by Video                      by Telephone

      Jacob M. Lewis
4. I, ________________________________, will be presenting argument on behalf of:
        Appellant / Petitioner                Amicus Curiae                 Other (please specify below):

   ✔ Appellee / Respondent                    Intervenor                    _______________________

   If you are substituting for an attorney who had previously filed an argument acknowledgment,
                                              Scott M. Noveck
   please indicate the name of the attorney: ______________________________________

5. Party Name(s): Respondents Federal Communications Commission and the United States of
                  America


                                                                N/A
6. Minutes reserved for rebuttal (appellant / petitioner only): _________ (in whole minutes only)

7. If you are sharing time with one or more attorneys, please address the following:

   A. Number of attorneys sharing time: ____
   B. Total number of minutes (in whole minutes only) to be shared: ____
   C. Your arguing sequence (e.g., 1st, 2nd, etc.): ____
   D. Your assigned minutes (in whole minutes only): _____

                     If you have not previously registered as an ECF filer and
                     filed an appearance form in this case, you must do both.

                                      Docketing Instructions:
                  Event Category: Argument; Event: Argument Acknowledgment


                                        CERTIFICATE OF SERVICE
           ,KHUHE\ certif\ that RQWKHGDWHRIWKLVILOLQJall parties or their counsel of
            recordhave been electronically served YLDWKHFRXUW V&0(&)V\VWHP

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